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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

RANDY M. MARTINEZ,                              )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )           Case No. 2:18-cv-0465-JEO
                                                )
CITY OF BIRMINGHAM,                             )
                                                )
       Defendant.                               )


                    MEMORANDUM OPINION AND ORDER 1

        In this action, Plaintiff Randy M. Martinez brings claims against his

employer, the City of Birmingham, under Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. § 2000e et seq. (“Title VII”), and 42 U.S.C. §§ 1981

(“Section 1981”). (Doc. 16). 2 Specifically, Plaintiff alleges he was discriminated

and retaliated against because of his race and national origin. (Id.). Defendant

moves to dismiss the amended complaint 3 under Federal Rule of Civil Procedure

1
  The action was originally assigned to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b) and the court’s general order of reference dated January 2, 2015. The
parties have since consented to an exercise of plenary jurisdiction by a magistrate judge pursuant
to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. (Doc. 11).
2
  References to “Doc(s). ___” are to the document number(s) of the pleadings, motions, and
other materials in the court file, as compiled and designated on the docket sheet by the Clerk.
3
 This is the second motion to dismiss filed by Defendant. The court granted the first motion, but
gave Plaintiff the opportunity to file an amended complaint to correct the deficiencies in his
original complaint. (Doc. 15). Plaintiff filed his amended complaint on October 30, 2018.
(Doc. 16).
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12(b)(6) for failure to state a claim. (Doc. 17). For the reasons that follow, the

motion to dismiss is due to be granted in part and denied in part.

I.    LEGAL STANDARDS

      Federal Rule of Civil Procedure 12(b)(6) authorizes a motion to dismiss all

or some of the claims in a complaint on the ground that its allegations fail to state a

claim upon which relief can be granted. That provision is read in light of Federal

Rule of Civil Procedure Rule 8(a)(2), which requires only “a short and plain

statement of the claim showing that the pleader is entitled to relief,” in order to

“give the defendant fair notice of what the . . . claim is and the grounds upon

which it rests,” Conley v. Gibson, 355 U.S. 41, 47 (1957). The court is required to

accept the well-pled factual allegations of the complaint as true and give the

plaintiff the benefit of all reasonable factual inferences.          See Hazewood v.

Foundation Financial Group, LLC, 551 F.3d 1223, 1224 (11th Cir. 2008).

However, “courts ‘are not bound to accept as true a legal conclusion couched as a

factual allegation.’” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)); see also Ashcroft v. Iqbal,

556 U.S. 662, 678-79 (2009) (“Rule 8 marks a notable and generous departure

from the hyper-technical, code-pleading regime of a prior era, but it does not

unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions.”). Nor is it proper to assume that the plaintiff can prove facts it has

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not alleged or that the defendants have violated the law in ways that have not been

alleged. Twombly, 550 U.S. at 563 n.8 (citing Associated Gen. Contractors of

Cal., Inc. v. Carpenters, 459 U.S. 519, 526 (1983)).

      “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, a plaintiff’s obligation to provide the grounds of

his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id., 550 U.S. at 555

(citations, brackets, and internal quotation marks omitted). “Factual allegations

must be enough to raise a right to relief above the speculative level . . . .” Id.

Thus, “a complaint must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face,’” i.e., its “factual content . . . allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678 (citations omitted). “[I]n practice, a

complaint . . . must contain either direct or inferential allegations respecting all the

material elements necessary to sustain recovery under some viable legal theory.”

Twombly, 550 U.S. at 562 (quoting Car Carriers, Inc. v. Ford Motor Co., 745 F.2d

1101, 1106 (7th Cir. 1984) (internal quotation marks omitted; emphasis and

omission in original)).




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II.    FACTUAL ALLEGATIONS 4

       Plaintiff Martinez, a Hispanic male of Mexican origin, began his

employment with the City of Birmingham in November 1998 as a police officer.

(Doc. 16 ¶¶ 16, 19). The City of Birmingham’s workforce is made up of a

relatively small percentage of Hispanic/Mexican Americans. (Id. ¶ 39). Plaintiff is

currently employed as a sergeant and has been a supervisor for over seven years.

(Id. ¶¶ 19, 21).       Plaintiff’s direct supervisor is Captain Nashonda Howard, an

African American female. (Id. ¶ 22). Plaintiff contends Captain Howard has

subjected him to a hostile work environment, verbal abuse, harassment, 5 and

intimidation because of his race and national origin. (Id.).

       On January 18, 2017, Plaintiff was in a meeting with Captain Howard and

Lieutenant Donald Gary, an African American male. (Id. ¶ 23). During that

meeting, Captain Howard gave Plaintiff an illegal order to “dispose of cases with

dispositions from officers no longer” with the Birmingham police department.

(Id.). She instructed Lieutenant Gary to ensure that Plaintiff followed the order

and said she wanted “20 cases a week.” (Id.). On January 31, 2017, Plaintiff



4
  The factual allegations contained in this section are based upon the well-pled factual allegations
of the amended complaint, which, consistent with the applicable standard of review, are taken as
true, drawing all reasonable inferences in Plaintiff’s favor. Thus, these are the background facts
for the purposes of the motion only; they may not be the actual facts.
5
  Plaintiff alleges his supervisors continually harassed him because he could not speak Spanish
like other Latino/Mexican Americans. (Doc. 16 ¶ 42).
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requested to meet with Chief A.C. Roper, an African American male, about the

way he was being treated by Howard and the illegal order. (Id. ¶ 24).6

          On February 6, 2017, Plaintiff met with Captain Howard and Deputy Chief

Irene Williams, an African American female. (Id. ¶ 25). Captain Howard told

Plaintiff all paperwork that “needs to be forwarded up through the chain of

command” needed “to go through her.” (Id.). Deputy Williams also questioned

Plaintiff about the dispositions Howard ordered Plaintiff to accomplish. (Id.).

          The next day, on February 7, 2017, Plaintiff was notified by an officer under

his supervision there was inventory missing from the property room. (Id. ¶ 26).

The missing inventory was $2,318.00. (Id.). Plaintiff immediately opened an

investigation pursuant to the City of Birmingham Rules and Regulations. (Id.).

           On February 9, 2017, Plaintiff was involuntarily assigned to the radio

room. (Id. ¶ 27). The next day he was involuntarily assigned to report review.

(Id. ¶ 28). Additionally, Plaintiff alleges at some unspecified time he was replaced

as the supervisor over the property room by Sergeant Ronald Crumbley, an African

American male, “who began illegally clearing the cases as ordered by Howard.”

(Id. ¶ 86).

          Plaintiff notified the proper chain of command regarding the missing money

from the property room on February 13, 2017. (Id. ¶ 29). On February 16, 2017,


6
    It is unclear whether this meeting every occurred. (See Doc. 16 ¶¶ 24, 52, 75, 82).
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Captain Howard and Greenberg7 called Plaintiff into a “closed-door meeting”

where he “was written up for violating the City of Birmingham Police

Department’s Rules and Regulations regarding an ‘Unusual Occurrence.’” (Id. ¶

30). Plaintiff denies he violated the rules. (Id.). Additionally, during this meeting,

Captain Howard told Plaintiff he could no longer work any overtime and was

ordered to only work 8-hour days. (Id. ¶ 31). Captain Howard further stated that

he could only work overtime if he made a formal request and that request was

approved in advance. (Id.). Plaintiff asserts this restriction was only enforced

against Plaintiff. (Id.).

          Plaintiff filed a Charge of Discrimination with the EEOC on March 1, 2017.

(Id. ¶ 32). Defendant was notified of Plaintiff’s EEOC charge on or about March

6, 2017. (Id. ¶ 33). Defendant provided a response to the EEOC charge on April

1, 2017, stating it has completed an internal investigation regarding the charge.

(Id. ¶ 34). “Any internal investigation conducted by the Defendant would begin

and end with the Chief of Police, A.C. Roper.” (Id. ¶ 35).

         On May 3, 2017, Plaintiff was called into a “closed-door meeting” with

Deputy Williams regarding a request for overtime approval Plaintiff submitted on

April 24, 2017. (Id. ¶ 36). Plaintiff’s request for overtime was denied. (Id. ¶ 37).

Other similarly situated African American sergeants, in particular Sergeant Teresa


7
    The amended complaint does not specify who Greenberg is.
                                               6
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Colston and Sergeant Ronald Crumbley, were allowed to work overtime. (Id. ¶

38).

       Plaintiff alleges he “is a good employee with many accolades and

accomplishments with the City and is well qualified to hold his supervisory

position with the City.” (Id. ¶ 20). The City of Birmingham has never outwardly

acknowledged Plaintiff for any of his “long list of accolades.” (Id. ¶ 40). For

example, although Plaintiff was the first Latino/Mexican American to be promoted

to sergeant in the City of Birmingham Police Department, he was not recognized in

the 2016 Birmingham Police Department yearbook with other historically first

races and genders acknowledged. (Id.).

       Finally, at some unspecified time during his employment, Plaintiff lost the

use of a take home car. (Id. ¶ 42).

III.   DISCUSSION

       Defendant contends Plaintiff’s amended complaint is due to be dismissed

because it fails to state a cognizable claim for discrimination and/or retaliation.

(Doc. 17 at 3-7). The court first addresses Plaintiff’s discrimination claims and

then moves to his retaliation claims.

       A. Discrimination Allegations

       “Disparate-treatment cases present ‘the most easily understood type of

discrimination,’ Teamsters v. United States, 431 U.S. 324, 335, n.15 (1977), and

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occur where an employer has ‘treated [a] particular person less favorably than

others because of’ a protected trait. Watson v. Fort Worth Bank & Trust, 487 U.S.

977, 985-86 (1988).” Ricci v. DeStefano, 557 U.S. 557, 577 (2009). A disparate

treatment plaintiff must establish “that the defendant had a discriminatory intent or

motive” for taking a job-related action. Id. (quoting Watson, 487 U.S. at 986).

Such a plaintiff must also establish that a challenged employment action was

materially adverse, viewed objectively from the perspective of a reasonable

employee. See Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1238-40 (11th

Cir. 2001); see also Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 67-68

(2006) (discussing “material adversity” requirement in the context of Title VII’s

anti-retaliation provision, 42 U.S.C. § 2000e-3(a)).

         A Title VII complaint need not allege facts sufficient to make out a classic

McDonnell Douglas8 prima facie case, but it must provide enough factual matter,

taken as true, to plausibly suggest intentional discrimination based on a protected

characteristic. See Edwards v. Prime, Inc., 602 F.3d 1276, 1300-01 (11th Cir.

2010); Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1270 (11th Cir. 2004). A

plaintiff may generally do so by alleging facts supporting that the employer treated

him less favorably than a similarly situated individual outside his protected class,

see Faulk v. City of Orlando, 731 F.2d 787, 790 (11th Cir. 1984); Glover v.

8
    McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

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Donahoe, 626 F. App’x 926, 931 (11th Cir. 2015);9 Wells v. Willow Lake Estates,

Inc., 390 F. App’x 956, 959 (11th Cir. 2010), or by similarly alleging that the

employer replaced him with, or passed him over for an employment benefit or

opportunity in favor of, someone outside of his class. See Jacobs v. Biando, 592 F.

App’x 838, 841 (11th Cir. 2014); Hughley v. Upson Cty. Bd. Of Commissioners,

696 F. App’x 932, 935-36 (11th Cir. 2017). However, a plaintiff may also survive

a motion to dismiss by pleading “a convincing mosaic” of circumstances, Smith v.

Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th Cir. 2011), that do not involve

such a comparator but still otherwise raise an inference of discriminatory intent.

See El-Saba v. University of S. Ala., 2015 WL 5849747, *13, 18 (S.D. Ala. Sept.

22, 2015); Arafat v. School Bd. Of Broward Cty., 549 F. App’x 872, 874 (11th Cir.

2013) (stating on review of a Rule 12(b)(6) dismissal that judgment for the

defendant is appropriate “[i]f a plaintiff fails to show the existence of a similarly-

situated employee [and] no other plausible allegation of discrimination is present.”

(citing Holifield v. Reno, 115 F.3d 1555, 1562 (11th Cir. 1997)); cf. Smith, supra

(applying a similar standard to assess the sufficiency of the plaintiff’s non-

comparator evidence to raise a necessary prima facie inference of discriminatory

intent at summary judgment); Chapter 7 Trustee v. Gate Gourmet, Inc., 683 F.3d

1249, 1255-56 (11th Cir. 2012) (“[A] plaintiff may use non-comparison

9
  Unpublished opinions of the Eleventh Circuit Court of Appeals are not considered binding
precedent; however, they may be cited as persuasive authority. 11th Cir. R. 36-2.
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circumstantial evidence to          raise a reasonable         inference of intentional

discrimination and thereby create a triable issue.”). Such an inference might be

created, for example, by allegations regarding “the employer’s criticism of the

plaintiff’s performance in . . . degrading terms” that reference the plaintiff’s

protected characteristic, “invidious comments about others in the employee’s

protected group, … or the sequence of events leading to the plaintiff’s discharge.”

El-Saba, 2015 WL 5849747 at *13 (quoting Littlejohn v. City of New York, 795

F.3d 297, 312 (2d Cir. 2015)).

              1. Count One – Race Discrimination

       In count one of his amended complaint, Plaintiff alleges he was

discriminated against in violation of Title VII and § 1981. (Doc. 16 at 9-13).

Plaintiff claims he endured unlawful disparate treatment by virtue of the following:

(1) he was assigned to the radio room and report review, 10 (id. ¶¶ 55, 56); (2) he

was written up for violating the City of Birmingham’s rules and regulations

regarding an “unusual occurrence” (id. ¶ 58); (3) he no longer was able to receive


10
   In the retaliation section of his complaint, Plaintiff describes these changes in work
assignments as a demotion:

       Plaintiff was retaliated against by removing him from the department he was in
       charge of to a less distinguished job with a less distinguished title. Outwardly
       these moves also appear as a “demotion” of the Plaintiff to his fellow officers.
       The moves have significantly less material responsibilities as the position the
       Plaintiff had in the property room.

(Doc. 16 ¶ 93).
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overtime with a formal request approved in advance, (id. ¶ 59); (4) he lost the use

of a take home car, (id. ¶ 64); and (5) his accomplishments, including being the

first Latino/Mexican American to be promoted to Sergeant in the city, have not

been outwardly acknowledged, (id. 66). Defendant argues Plaintiff’s allegations of

discrimination fail to state a claim.

      “[N]ot everything that makes an employee unhappy” is actionable under

federal civil rights statutes prohibiting discrimination in employment. Higdon v.

Jackson, 393 F.3d 1211, 1219 (11th Cir. 2004) (quoting Doe v. Dekalb County

Sch. Dist., 145 F.3d 1441, 1449 (11th Cir. 1998) (citations and quotations

omitted)). Rather, while a challenged action need not necessarily have economic

consequences, it will be cognizable as unlawful discrimination only if it works “a

serious and material change in the terms, conditions, or privileges of

employment,” judged objectively from the perspective of a reasonable employee.

Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1238-40 (11th Cir. 2001)

(emphasis original); see also Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S.

53, 67-68 (2006) (discussing “material adversity” in the context of Title VII’s anti-

retaliation provision, 42 U.S.C. § 2000e-3(a)).

      The court concludes that Plaintiff has pled sufficient facts from which to

infer that at least some of the negative treatment he cites may amount to adverse

employment action. That is certainly the case with respect to actions that allegedly

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resulted directly in the denial of additional pay. See Bass v. Bd. of Cty. Comm’rs,

Orange Cty., Fla., 256 F.3d 1095, 1118 (11th Cir. 2001) (“[A]ctions which

deprived [the plaintiff] of compensation which he otherwise would have earned

clearly constitute adverse employment actions for purposes of Title VII”); Cox v.

American Cast Iron Pipe Co., 784 F.2d 1546, 1561 (11th Cir. 1986) (no amount of

diminished pay can be written off as beyond Title VII’s protections on the ground

that such loss was “de minimis”). In particular, Plaintiff’s claims that he was

denied overtime and that he lost the use of a take home car sufficiently allege

adverse employment actions for purposes of Title VII and § 1981.

       Additionally, with regard to the work assignments, Plaintiff contends he was

assigned to the radio room for one day and the next day was assigned to report

review. 11 (Doc. 16 ¶¶ 55, 56). Plaintiff alleges it was a “less prestigious job with a

less distinguished title,” “appear[ed] as a demotion” to his fellow officers, and had

less responsibilities then his position in the property room. (Doc. 16 ¶ 93). This is

exactly the type of claim that “[o]ur circuit does not favor.” Kidd v. Mando

American Corp., 731 F.3d 1196, 1203 (11th Cir. 2013). The Eleventh Circuit has

explained:

       “Work assignment claims strike at the very heart of an employer’s
       business judgment and expertise because they challenge an
       employer’s ability to allocate its assets in response to shifting and

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  It is unclear from the allegations of the amended complaint whether Plaintiff was assigned to
report review for more than the one day specified.
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      competing market priorities.” Davis, 245 F.3d at 1244. And it is by
      now axiomatic that “Title VII is not designed to make federal courts
      sit as a super-personnel department that reexamines an entity's
      business decisions,” id. at 1245 (internal quotation marks omitted)
      (citing Elrod v. Sears, Roebuck & Co., 939 F.2d 1466, 1470 (11th Cir.
      1991)).

Id. at 1203-04. As a result, “[i]n the vast majority of instances, … an employee

alleging a loss of prestige on account of a change in work assignments, without any

tangible harm, will be outside the protection afforded by Congress in Title VII’s

anti-discrimination clause.” Trask v. Secretary, Dep’t of Veterans Affairs, 822

F.3d 1179, 1194 (11th Cir. 2016) (quoting Davis, 245 F.3d at 1245).

      The court harbors doubt about whether Plaintiff’s alleged changes in his

work assignments and duties suggests an adverse employment action under

Eleventh Circuit standards.    Although Plaintiff states he was replaced as the

supervisor in the property room, Plaintiff does not claim that the changed work

assignments altered his position as a sergeant, increased the hours he worked, or

carried any loss in pay or advancement opportunities. The Eleventh Circuit has

rejected similar claims for failure to establish an adverse employment action. See

Kidd, 731 F.3d at 1203-04 (rejecting a “demotion claim . . . grounded on a loss of

supervisory responsibility” alone for lack of an adverse employment action);

Edwards v. Ambient Healthcare of Ga., Inc., 674 F. App’x 926, 930 (11th Cir.

2017) (finding the plaintiff “did not allege that she suffered a materially adverse

action” where she “did not allege that [the employer] cut her pay, took away her
                                        13
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title, or did anything other than make her existing job duties more difficult.”). That

Nevertheless, the court will assume, for the purposes of this motion only, that these

allegations are sufficient at this stage to support the existence of an adverse

employment action.

      The court now turns to Plaintiff’s allegation that he was written up for

allegedly violating the unusual occurrences rule and regulation.           “Negative

performance evaluations, standing alone, do not constitute adverse employment

action,” Lucas v. W.W. Grainger, Inc., 257 F.3d 1249, 1261 (11th Cir. 2001), and

“courts are wisely reluctant to treat job performance memoranda as actionable . . .

where they do not trigger any more tangible form of adverse action such as a loss

in benefits, ineligibility for promotional opportunities, or more formal discipline,”

Davis, 245 F.3d at 1241; see also Brown v. Snow, 440 F.3d 1259, 1265 (11th Cir.

2006). Likewise, “memoranda of reprimand or counseling that amount to no more

than a mere scolding, without any following disciplinary action, do not rise to the

level of adverse employment actions” either.           Davis, 245 F.3d at 1236.

Accordingly, “[t]he reprimand of an employee does not constitute an adverse

employment action when the employee suffers no tangible harm as a result.”

Summerlin v. M & H Valve Co., 167 F. App’x 93, 97 (11th Cir. 2006); accord

Perry v. Rogers, 627 F. App’x 823, 832-33 (11th Cir. 2015); Barnett v. Athens

Reg’l Med. Ctr. Inc., 550 F. App’x 711, 713 (11th Cir. 2013); Wallace v. Georgia

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Dep’t of Transp., 212 F. App’x 799, 801 (11th Cir. 2006). However, once a

negative performance evaluation is used to justify the denial of a raise or some

other form of compensation, the evaluation may be deemed an adverse

employment action. See Crawford v. Carroll, 529 F.3d 961, 971-72 (11th Cir.

2008); Gillis v. Georgia Dep’t of Corr., 400 F.3d 883, 888 (11th Cir. 2005).

      The amended complaint does not allege the write-up Plaintiff received for

allegedly violating the unusual occurrence rule and regulation resulted in any type

of disciplinary action, loss of pay, denial of a raise or the like. (See Doc. 16 ¶ 58).

Instead, the allegations are more akin to “a mere scolding” without any tangible

harm as a result. As such, the write up standing alone does not constitute an

adverse employment action, and Plaintiff’s race discrimination claim based thereon

is due to be dismissed. That being said, the amended complaint alleges that in the

same meeting where Plaintiff received the write-up, he was also informed that he

could not work overtime without a formal request and advanced approval. (Id. ¶

59). To the extent that Plaintiff can establish that these two actions were linked, he

may be able to show that the write-up was an adverse employment action.

      The last adverse employment action alleged by Plaintiff is his lack of

recognition by the city for his accomplishments, including not being acknowledged

in the latest Birmingham Police Department yearbook as the first Latino/Mexican

American to be promoted to sergeant. (Id. ¶ 66). This allegation does not amount

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to an adverse employment action as a matter of law. It certainly does not equate

with “a serious and material change in the terms, conditions, or privileges of

employment,” judged objectively from the perspective of a reasonable employee.

Davis., 245 F.3d 1238-40 (emphasis in original). Instead, being “snubbed at the

office awards ceremony is the kind of de minimis employment hand-slap which

falls beneath the radar screen of Title VII.”    Goodridge v. Astrue, 2009 WL

10666376, at *7 (N.D. Ga. 2009) (quoting Pedicini v. United States, 480 F. Supp.

2d 438, 454 (D. Mass. 2007) (internal marks and footnote omitted)). Accordingly,

Plaintiff’s race discrimination claims are DISMISSED as they relate to his lack of

recognition.

      Finally, Plaintiff states within his discrimination allegations that Howard

subjected him to “verbal abuse, harassment and intimidation because of his race.”

(Doc. 16 ¶ 50). Those allegations are simply too vague to establish an adverse

employment action and fail to give Defendant fair notice of the grounds of the

claims.     There are absolutely no details regarding the alleged “harassment.”

Plaintiff has not pled facts from which it might be reasonably inferred that this

“harassment” had any material impact on his employment. As such, it does not

qualify an adverse employment action. See Davis, 245 F.3d at 1240-41; Garrett v.

University of Ala. at Birmingham Bd. of Trs., 507 F.3d 1306, 1309, 1316 (11th Cir.

2007); see also Edwards v. Ambient Healthcare of Ga., Inc., 674 F. App’x 926,

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930 (11th Cir. 2017) (“Criticisms” and “negative evaluations” are not themselves

actionable adverse employment actions).                 Accordingly, Plaintiff’s race

discrimination claims are DISMISSED to the extent they are founded on general

and unspecified “harassment.”

              2. Count Two – National Origin Discrimination

       Plaintiff alleges discrimination on the basis of national origin in violation of

both Title VII and § 1981. (Doc. 16 at 14). Before discussing the specific

allegations, the court notes that § 1981’s protections do not extend to

discrimination claims based “solely on the place or nation . . . of origin.” Saint

Francis College v. Al–Khazraji, 481 U.S. 604, 613 (1987). However, “[i]n some

contexts, national origin discrimination is so closely related to racial discrimination

as to be indistinguishable.” Bullard v. OMI Ga., Inc., 640 F.2d 632, 634 (5th Cir.

Unit B 1981); see also Alvarado v. El Paso Indep. Sch. Dist., 445 F.2d 1011 (5th

Cir. 1971) (holding that a complaint by Mexican–Americans alleging racial and

ethnic discrimination, “clearly states a cause of action” under § 1981).12               In

Bullard, the plaintiffs brought suit pursuant to only § 1981, and the district court

granted summary judgment to the defendants on the grounds that the plaintiffs had

only pled a national origin discrimination claim not recognized under that statute.


12
   In Bonner v. City of Prichard, Alabama, the Eleventh Circuit adopted as binding all Fifth
Circuit decisions prior to the close of business on September 30, 1981. 661 F.2d 1206, 1209
(11th Cir.1981) (en banc).
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640 F.2d at 633. On appeal, the Fifth Circuit reversed and held that the plaintiff’s

complaint did indeed assert claims for race discrimination cognizable under §

1981. Id. at 634. While Fifth Circuit noted in dicta that racial discrimination and

national origin discrimination can be so closely related as to be nearly

indistinguishable, it did not hold that there was a separate and distinct cause of

action under § 1981 for national origin discrimination. Id.

      Rather, evidence of national origin discrimination may be relevant to

whether or not racial discrimination in violation of § 1981 occurred. See Sinai v.

New England Tel. and Tel. Co., 3 F.3d 471, 474–75 (1st Cir. 2003) (upholding a

jury finding of racial discrimination (Jewish/Hebrew) under § 1981 despite

defendants objections that the only evidence of discrimination was disparaging

remarks about the plaintiff’s national origin (Israeli) because “national origin could

be used, together with other evidence, to arrive at a conclusion vis-a-vis race

discrimination”); Aramburu v. Boeing Co., 112 F.3d 1398, 1411 (10th Cir. 1997)

(holding that the plaintiff’s “claim of discrimination based on his Mexican-

American ancestry . . . fall[s] within § 1981’s protection against racial

discrimination”). Thus, to the extent that Plaintiff seeks to assert a separate and

distinct national origin claim under § 1981, that claim is due to be dismissed.

However, the court will consider evidence of any national origin discrimination as




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it relates to Plaintiff’s § 1981 race discrimination claim       , as well as his Title VII

national origin discrimination claim.

       As for the specific allegations of national origin discrimination, Plaintiff first

makes general allegations about failure to protect Plaintiff against discrimination,13

inconsistent application of policy and equal treatment and failure to provide

Plaintiff with equal opportunities and proper compensation. (Doc. 16 ¶ 69). Such

allegations, however, are themselves conclusory and are thus not entitled to a

presumption of truth. See Iqbal, 556 U.S. at 678-79. “While legal conclusions can

provide the framework of a complaint, they must be supported by factual

allegations.” Id. at 679. Plaintiff does not provide any specific factual support for

these legal conclusions. As such, they are DISMISSED.

       That being said, Plaintiff then states he was discriminated against because of

his national origin in regards to overtime and lack of acknowledgment for being

the first Latino/Mexican American sergeant. For the reasons discussed above, the

allegations regarding overtime adequately allege an adverse employment action,

but the lack of acknowledgement does not. Accordingly, Plaintiff’s national origin

discrimination claims are DISMISSED as they relate to his lack of recognition.




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  Although the allegation sites failure to protect from race discrimination, the court presumes
Plaintiff meant national origin discrimination. (Doc. 16 ¶ 69).
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      B. Hostile Work Environment

      It is unclear from the amended complaint whether Plaintiff seeks to allege a

claim for hostile work environment. While such a claim is not specifically listed as

one of the five counts, the amended complaint contains some allegations of a

hostile work environment, harassment and the like. (Doc. 16 ¶¶ 22, 41, 50, 67, 72,

88). The court, therefore, will address it out of an abundance of caution.

      Title VII may be violated where a plaintiff is forced to endure a hostile work

environment arising from the cumulative effects of discriminatory harassment. See

National R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114-16 (2002); Harris v.

Forklift Systems, Inc., 510 U.S. 17 (1993).      That is so despite that fact that

individual episodes of such harassment may not result in any economic or

otherwise tangible effects on the plaintiff’s employment and may not be

independently actionable under Title VII. Morgan, 536 U.S. at 115. To plead a

hostile work environment claim under Title VII, Plaintiff has to allege facts

supporting the following elements: (1) he belongs to a protected group; (2) he was

subjected to unwelcome harassment; (3) the harassment was based on her

membership in the protected group; (4) it was severe or pervasive enough to alter

the terms and conditions of employment and create a hostile or abusive working

environment; and (5) the employer is responsible for that environment under a

theory of either vicarious or direct liability. See Edwards v. Prime, Inc., 602 F.3d

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1276, 1300 (11th Cir. 2010); Furcron v. Mail Centers Plus, LLC, 843 F.3d 1295,

1304 (11th Cir. 2016); Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d 798,

808 (11th Cir. 2010).

      The amended complaint randomly inserts the following harassment

allegations:

           • Howard subjected him to a hostile work environment as well as
             verbal abuse, harassment and intimidation because of his race and
             his national origin, (doc. 16 ¶¶ 22, 50);
           • Plaintiff’s supervisors continually harassed the Plaintiff because he
             could not speak Spanish, (id. ¶¶ 41, 67, 72);
           • The hostile work environment affected Plaintiff’s ability to
             concentrate on job performance and placed him in less than desirable
             working conditions, (id. ¶ 88).

Notwithstanding these allegations, the complaint is devoid of allegations sufficient

to allege a claim of hostile work environment. There are no specific factual

allegations that could amount to anything even resembling harassment, much less

that such harassment was severe of pervasive enough to alter the terms and

conditions of employment. See Harris v. Forklift Systems, Inc., 510 U.S. 17, 21-22

(1993) (only when the workplace is “permeated with discriminatory intimidation,

ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of

the employment and create an abusive working environment,” is the law violated).

As such, Plaintiff failed to state a claim for hostile work environment and any such

claim is DISMISSED.


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       C. Counts 3, 4 and 5 - Retaliation

       Plaintiff’s last three counts allege retaliation in violation of Title VII and §

1981. (Doc. 16 at 15-19). Specifically, Plaintiff alleges he was retaliated against

when he was: (1) denied overtime, (doc. 16 ¶¶ 80), (2) disciplined regarding the

unusual occurrence and a letter of reprimand was placed in his filed, (id. ¶82); (3)

replaced as supervisor over the property room and replaced by an African

American male, (id. ¶ 86); and (4) assigned to the radio room for one day and then

reassigned to report review, (id. ¶¶ 91, 92).14              Defendant contends Plaintiff’s

claims fail because: (1) he does not allege the decision makers had knowledge of

his alleged protected activity; and (2) he “failed to plead any causal connection

between any protected conduct and any adverse action taken against him.” (Doc.

17 at 6).

       Under Title VII, it is unlawful for an employer to retaliate against an

employee because the employee opposed any practice made unlawful by Title VII.

Wallace v. Georgia Dept. of Transp., 212 F. App’x 799, 802 (11th Cir. 2006)

(citing 42 U.S.C. § 2000e-3(a)). To establish a prima facie case of retaliation

under Title VII, a plaintiff must show that (1) he engaged in statutorily protected

expression; (2) he suffered an adverse employment action; and (3) there is a causal

connection between the two events. Brochu v. City of Riviera Beach, 304 F.3d

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   For the reasons states above, the court assumes for purposes of this motion only that these four
allegations are enough to state an adverse employment action.
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1144, 1155 (11th Cir. 2002)). As far as statutorily protected expression, it is

undisputed that Plaintiff’s March 1, 2017 EEOC complaint is protected activity.

The only alleged retaliation that occurred after the EEOC complaint, however, is

the denial of overtime in May 2017. All other alleged retaliation occurred before

Plaintiff filed his EEOC charge. In an attempt to save his claims, Plaintiff argues

that his request for a meeting with Chief Roper constitutes a protected activity.

(Doc. 19 at 5). With regard to this activity, the amended complaint states as

follows: “On or about January 31, 2017[,] the Plaintiff requested to meet with

Chief. A.C. Roper (“Roper”) an African American male, about the way he was

being treated by Howard and the illegal orders that she was ordering the Plaintiff to

perform.” (Doc. 16 ¶¶ 24, 52, 75). Although the amended complaint is not clear

as to whether this meeting took place, it does later state that “Plaintiff complained

to Chief A. C. Roper about this supervisor Howard . . . .” (Id. ¶ 82). There are no

details in the amended complaint regarding that alleged meeting.

      The Eleventh Circuit has held that a complaint of “[u]nfair treatment, absent

discrimination based on race, sex, or national origin,” does not constitute

statutorily protected activity. Coutu v. Martin County Bd. of Cnty. Comm’rs, 47

F.3d 1068, 1074 (11th Cir. 1995). In Coutu, the plaintiff filed a written grievance

that “contained a conclusory allegation of racial discrimination, [but] her attorney

waived this allegation at the grievance hearing.” Id. Furthermore, during the

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grievance hearing, “Coutu made no allegation and offered no proof of race or

national origin discrimination; she contended only that she worked hard and

deserved a better rating than” she received. Id. The Eleventh Circuit concluded

that, absent any allegations of discriminatory treatment, Coutu’s grievance did not

constitute statutorily protected expression. Id.

      While the allegations contained in the amended complaint are closer to the

facts in Coutu, Plaintiff argues in his brief that the meeting was to “complain about

discrimination and the illegal orders given to him by Howard.” (Doc. 19 at 5).

Additionally, a liberal reading of the complaint could result in the inference that

“the way he was being treated by Howard” included the alleged “verbal abuse,

harassment and intimidation because of his race and his national origin” referenced

earlier in the complaint. (Doc. 16 ¶¶ 22, 24). Accordingly, while the court has

some doubts as to whether the request for the meeting (or meeting itself, if it

occurred) constitutes statutorily protected expression, the court will assume that it

does, for purposes of this motion only.

      Defendant also challenges Plaintiff’s retaliation claims on causal connection

grounds. To establish a causal connection, a plaintiff must show that the decision

makers were aware of the protected conduct, and that the protected activity and the

adverse action were not wholly unrelated. Gupta v. Florida Bd. of Regents, 212

F.3d 571, 590 (11th Cir. 2000). To show a causal connection mere temporal

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proximity between knowledge of protected activity and an adverse action must be

very close. See Higdon v. Jackson, 393 F.3d 1211, 1220 (11th Cir. 2004); Clark

County Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001). In addition to showing

temporal proximity between the protected act and the allegedly adverse

employment action, a plaintiff must show that his employer actually knew about

the protected activity. See Clark County, 532 U.S. at 272.

       From what the court can glean from the amended complaint, the decision

makers for overtime and discipline appear to be Howard and Williams. 15 (See

Doc. 16 ¶¶ 25, 30, 31, 36). It is unclear who made the decision regarding job

assignments. Plaintiff contends Howard was aware of both his EEOC charge, as

well as his complaint to Chief Roper.          Plaintiff argues in his brief that “because

all requests are required to be forwarded up the chain of command and Howard

was Martinez [sic] superior officer, she was immediately aware that Martinez was

making a complaint against her to the Chief.” (Doc. 19 at 8). The problem with

this argument, however, is that according to the allegations in the amended

complaint, Plaintiff was not instructed to forward all paperwork through the chain

of command until a week after he made the request to meet with Chief Roper.

(Doc. 16 ¶¶ 24, 25). Additionally, there is nothing in the amended complaint to


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   A person identified as Greenberg is also mentioned in connection with Plaintiff’s write up
regarding the unusual occurrence policy. There is no other information regarding this individual
other than his or her last name.
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establish that Howard had knowledge of Plaintiff’s EEOC charge. Regardless of

these omissions and inconsistencies, the court will allow Plaintiff’s retaliation

claims to proceed. The retaliation allegations in the amended complaint barely are

enough to satisfy Federal Rules of Civil Procedure 8(a)(2) and 12(b)(6).

III. CONCLUSION

      For the foregoing reasons, Defendant’s motion to dismiss is GRANTED IN

PART and DENIED IN PART as detailed above. (Doc. 17).

      DATED this 31st day of January, 2019.



                                      _________________________________
                                      JOHN E. OTT
                                      Chief United States Magistrate Judge




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